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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF KENTUCKY
                       BOWLING GREEN DIVISION
 ____________________________________________________________________
                                        )
 BURKESVILLE HARDWOODS, LLC             )
                                        )
                  PLAINTIFF             ) Civil Action No. 1:18cv-00018-GNS
 v.                                               ) JUDGE GREG N. STIVERS
                                        )
 TRAVIS COOMER and                      )
 UNKNOWN DEFENDANTS 1 and 2             )
                                        )
                  DEFENDANTS            )
 _____________________________________________________________________

                                           ORDER

        A    telephonic    status   conference   was   conducted   in   this   action   on

 March 17, 2020, with the undersigned presiding. Participating in the conference were

 Harlan E. Judd, III, for the Plaintiff and Kenneth A. Meredith, II, for the Defendant.

 Counsel for Defendant having confirmed former counsel Hunter Durham is deceased;

        IT IS ORDERED Attorney Hunter Durham shall be terminated as counsel of

 record in this matter.

        IT IS ORDERED a telephonic status conference shall be conducted on April 21,

 2020, at 10:00 am, CDT. The Court will initiate the call.

        ENTERED this      March 18, 2020




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 Copies to:   Counsel of Record


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